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                        Exhibit 1
                  TO UNITED STATES’ BILL OF COSTS
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                       *        MDL No. 2179
       “Deepwater Horizon”                            *
       in the Gulf of Mexico,                         *        SECTION: J
       on April 20, 2010                              *
                                                      *        JUDGE BARBIER
This Document Relates to:                             *
U.S. v. BP, et al. 2:10-cv-04536                      *        MAGISTRATE SHUSHAN
                                                      *


          MEMORANDUM EXPLAINING BILL OF COSTS AGAINST ANADARKO
                      REQUESTED BY UNITED STATES

          This memorandum explains the basis for the costs requested in the Bill of Costs, and

explains the invoices attached. 1 The types of costs requested are:

      •   Fees of the Clerk;
      •   Fees for transcripts (court transcripts and witness transcripts);
      •   Fees for witnesses; and
      •   Fees for exemplification

Each of these categories is discussed below, and there are separate exhibits with spreadsheets

summarizing the invoices for each type of fee, and additional exhibits with the underlying

invoices attached.

I.        Introduction

          This case was a large, complex multi-District Litigation, with many depositions, trial

days, court hearings, fees, and Orders setting out detailed required procedures for depositions,

trials, exhibits, filings, and so on. There were also three separate Phases of discovery and trial, as

well as multiple defendants. The United States only sued some of the defendants, and the

judgment only relates to Anadarko.
1
 Final Judgment was entered in this matter on December 16, 2015. Rec. Doc. 15659. That Judgment extended the
due date for the Plaintiff’s motion for costs to 45 days. Rec. Doc. 15659 ¶ 6. That judgment was a partial judgment
under Fed. R. Civ. P. 54(b), because there were other parties, but is final as to Anadarko. A subsequent order
extended the deadline for costs to February 8, 2016. Rec. Doc. 15818.
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       The Bill seeks recovery of the costs that were necessarily obtained for its case against

Anadarko. We do seek such costs even if they might also relate to another party. For example,

Phase Two related to how much oil was discharged. That Phase was relevant to Anadarko’s civil

penalty amount, and it was also relevant to BP’s civil penalty amount. But, the United States had

to incur those fees and costs to proceed against Anadarko, even if BP had not been a party at all.

Palma v. Safe Hurricane Shutters, Inc., 895 F. Supp. 2d 1268, 1274 (S.D. Fla. 2012) (finding

that joint and several liability was appropriate where a significant amount of costs would have

been incurred whether there was one plaintiff or multiple plaintiffs); DelKalb Genetics Corp. v.

Pioneer Hi-Bred Intern., Inc., No. 96-C-50113, 2002 WL 31109373 (N.D. Ill. Sept. 23, 2002)

(rejecting party’s request to reduce costs, where such costs also related to three other settling

cases, because those costs would have been incurred anyway, regardless of the three other cases).

The “burden [is] on the losing parties to introduce evidence and persuade the court that costs

should be apportioned;” otherwise the default rule is joint and several liability. In re Paoli R.R.

Yard PCB Litigation, 221 F.3d 449, 469 (3d Cir. 2000). See also Concord Boat Corp. v.

Brunswick Corp., 309 F.3d 494, 496-97 (8th Cir. 2002); White v. Sundstrand Corp., 256 F.3d

580, 585-87 (7th Cir. 2001).

       In order to ensure that we are not asking for fees that do not relate to Anadarko, the

United States divided up the witnesses into types that are clearly relevant to Anadarko (even if

also relevant to another party or issue), and those for which we do not seek to recovery from

Anadarko. The case involved three trial phases, and to calculate fees for each phase we used a

different list of witnesses, as explained below.

Phase One: There were 305 depositions in Phase One, but we are only asking for the costs

associated with 16 Phase One witnesses:


                                                   2
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Name                Date of Deposition
Richard Vargo       03/30/2011 – 03/31/2011
Robert Bodek        04/11/2011 – 04/12/2011
Paul Chandler       05/04/2011
Alan O’Donnell      05/05/2011
Jim Bryan           05/06/2011
Robert Quitzau      5/25/2011 – 5/26/2011
Kirk Wardlaw        06/09/2011
Darrell Hollek      06/22/2011
Graham Pinky
                    06/23/2011 – 06/24/2011
Vinson
Michael Beirne      6/27/2011 – 06/28/2011
Jerry Byrd          07/13/2011
Stuart Strife       10/05/2011
Roger Vernon        12/13/2011
Gordon Cain         12/19/2011
James Lang          01/11/2012
Graham Pinky
                    01/11/2012
Vinson

Phase Two: There were two tracks: “Quantification” and “Source Control.” Some witnesses

were considered “Hybrid,” meaning that they applied in both tracks. The Chart below lists the

witnesses per track. The United States seeks fees associated with witnesses from the

Quantification Track (including Hybrid witnesses), but not from the Source Control Track.

Quantification and Hybrid witnesses were necessary to the United States’ case against Anadarko

in order to determine the amount of oil discharged from the Macondo well. The amount of oil

discharged was used to calculate Anadarko’s maximum penalty amount.

Name                 Track
Adams, Iain          Source Control
Allen, Thad          Source Control
Ballard, Adam        Hybrid
Banon, Hugh          Source Control
Barnett, David       Quantification
Bea, Robert          Source Control
Benge, Glen          Quantification
Bishop, Simon        Quantification
Blunt, Martin        Quantification
Brainard, Richard    Source Control
Brannon, Richard     Source Control
Burch, Morris        Source Control

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Bush, Earnest         Hybrid
Bushnell, Nathan      Quantification
Camilli, Richard      Quantification
Carden, Richard       Source Control
Carmichael, Stephen   Quantification
Childs, Greg          Source Control
Chu, Steven           Hybrid
Cook, Kevin           Source Control
Davis, Rory           Quantification
DeCoste, Bud          Quantification
Devers, Kevin         Hybrid
Dewers, Thomas        Quantification
Dykhuizen, Ronald     Quantification
Foutz, Tyson          Source Control
Gansert, Tanner       Hybrid
Gibson, Dan           Source Control
Gochour, Matt         Quantification
Goosen, Rick          Source Control
Graettinger, George   Quantification
Griffiths, Stewart    Quantification
Gringarten, Alain     Quantification
Guillot, Ward         Source Control
Guthrie, George       Quantification
Hand, Steve           Source Control
Harland, Richard      Source Control
Harwin, Anthony       Hybrid
Havstad, Mark         Quantification
Henry, Charlie        Quantification
Herbst, Lars          Source Control
Hill, Trevor          Quantification
Holt, Charles         Quantification
Hsieh, Paul           Quantification
Huffman, Alan         Quantification
Hughes, John          Hybrid
Hunter, Thomas        Quantification
Hunter, Tom           Hybrid
Johnson, Adrian       Quantification
Kelkar, Mohan         Quantification
Kenney, Gary          Hybrid
Knox, Tom             Quantification
Landry, Mary          Hybrid
Larsen, Leif          Quantification
Lawler, Kinton        Hybrid
LeBlanc, Jason        Quantification
LeBlanc, Shade        Source Control
Lehr, Bill            Quantification
Leifer, Ira           Quantification
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Levitan, Michael      Quantification
Liao, Tony            Quantification
Lo, Simon             Quantification
Lockett, Timothy      Quantification
Loos, Jamie           Quantification
Mackay, Andrew        Source Control
Maclay, Don           Quantification
Martinez, John        Quantification
Mason, Mike           Hybrid
Matice, Christopher   Quantification
McArthur, Steven      Quantification
McNutt, Marcia        Quantification
McWhorter, David      Hybrid
Merrill, Robert       Quantification
Miller, Charles       Quantification
Miller, Mark          Quantification
Miller, Marvin        Source Control
Momber, Andreas       Quantification
Nesic, Srdjan         Quantification
O’Donnell, Alan       Quantification
O’Neill, Brian        Quantification
Patteson, Mark        Source Control
Pellerin, Nicky       Hybrid
Pelphrey, Steve       Quantification
Perkin, Gregg         Source Control
Pooladi-Darvish,      Quantification
Mehran
Possolo, Antonio      Quantification
Quitzau, Robert       Quantification
“Bob”
Ratzel, Art           Quantification
Richardson, Nigel     Quantification
Ritchie, Bryan        Quantification
Roegiers, Jean-       Quantification
Claude
Rohloff, Greg         Source Control
Romo, Louis           Hybrid
Ross, George          Quantification
Rygg, Ole             Quantification
Saidi, Farah          Quantification
Sanders, Robert       Hybrid
Schulkes, Ruben       Quantification
Shtepani, Edmond      Quantification
Smith, Trevor         Hybrid
Sogge, Mark           Quantification
Stahl, Mathew         Quantification
Stevick, Glen         Source Control

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Thompson, Neil      Hybrid
Trusler, Martin     Quantification
Turlak, Rob         Hybrid
Vargo, Richard      Hybrid
Vaziri, Hans        Quantification
Vinson, Graham      Quantification
“Pinky”
Wang, Yun           Quantification
Watson, James       Source Control
Wellings, Jim       Source Control
Whitson, Curtis     Quantification
Williams, Ellen     Quantification
Wilson, John        Source Control
Woods, Andrew       Quantification
Zaldivar, Michael   Quantification
Zick, Aaron         Quantification
Ziegler, Edward     Source Control
Zimmerman, Robert   Quantification

Phase Three (a/k/a Penalty Phase): The United States seeks fees associated with all Phase

Three witnesses other than the witnesses who related solely to issues of BP’s finances and

internal corporate structure. The remaining witnesses addressed issues related to the statutory

penalty factors necessary to the assessment of a civil penalty against Anadarko under the Clean

Water Act, 33 U.S.C. § 1321(b)(8). The Chart below lists the witnesses.

                            Necessary to Case
Witness
                            Against Anadarko
Arnold, Kenneth             Yes
Austin, Diane               Yes
Austin, Meredith            Yes
Barnes, Joshua              Yes
Barron, Mace                Yes
Boesch, Donald              Yes
Bonanno, George             Yes
Bray, Steve                 Yes
Casey, Drew                 Yes
Clapp, Richard              Yes
Conmy, Robyn                Yes
Cox, Robert                 Yes
Cross, Iris                 Yes
Douglas, Margaret           Yes
Folse, Laura                Yes
                                                 6
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Gwin, Robert          Yes
Hanzalik, James       Yes
Hein, Julia           Yes
Heron, Richard        Yes
Hewett, Larry         Yes
Higgins, Damian       Yes
Hollek, Darrell       Yes
Howard, John          Yes
Huston, Mark          Yes
Kulesa, Frank         Yes
Laferriere, Roger     Yes
Lubchenco, Jane       Yes
Luton, Harry          Yes
Mason, Charles        Yes
McCleary, Stephen     Yes
McNulty, Sarah        Yes
Merten, Amy           Yes
Michel, Jacqueline    Yes
Miller, Mark          Yes
Paskewich, Frank      Yes
Ratner, Ian           Yes
Rice, Stanley         Yes
Robertson, Michael    Yes
Rose, Marshall        Yes
Shea, Damian          Yes
Smith, Brian          Yes
Sunding, David        Yes
Taylor, Elliot        Yes
Tunnell, John         Yes
Utsler, Mike          Yes
VanHaverbeke, Mark    Yes
Walkup, Gardner       Yes
Bamfield, Nicholas    No
Bucknall, David       No
Burch, Morris         No
Cantrell, Walter      No
Daines, Robert        No
Den Uyl, Bruce        No
Morrison, Richard     No
Quivik, Frederic      No
Scott, Loren          No
Sutcliffe, Kathleen   No
Wilson, Duane         No
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II.      Fees of the Clerk

         The District Court ordered that all documents be filed and served using the Lexis/Nexis

system. PRETRIAL ORDER NO. 12, Rec. Doc. 600. The Clerk of Court has previously awarded

these types of costs in this MDL 2179. Rec. Doc. 15646.

         We determined which filings were related to Anadarko by reviewing the invoices.

Exhibit 2 sets out a spreadsheet of the LEXIS costs incurred for filings that relate to Anadarko.

Exhibit 7 includes the invoices for the LEXIS costs. Filings that related to other parties but were

not related to Anadarko are not included in the spreadsheet. Following the spreadsheet are

LEXIS invoices for the entries in the spreadsheet. We are seeking a total of $5,480 in LEXIS

costs.

III.     Fees for printed and electronically recorded transcripts

         Exhibits 3 and 4 are two spreadsheets listing transcript costs for the bill of costs, as

described below. The invoices for the entries in the spreadsheets are attached as Exhibits 8-9B.

         A.     Transcripts of Court proceedings.

         The spreadsheet attached, Exhibit 3, sets out Transcripts of Court proceedings costs

incurred for transcripts that relate to Anadarko. Transcripts that were not relevant to the United

States’ case against Anadarko are not included in the spreadsheet. Also attached as Exhibit 8 are

invoices for the entries in the spreadsheet. We are seeking a total of $44,412.17 in court

transcript costs.




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         B.       Transcripts of depositions.

          The spreadsheet attached as Exhibit 4 summarizes fees for deposition transcripts,

including video transcripts. Exhibits 9A-9B attach the invoices. The Clerk has previously

authorized recovery of video transcripts in this case. Rec. Doc. 15646.

         The spreadsheet of depositions itemizes the available invoices for the witnesses that are

relevant to Anadarko, as set out in the charts above in the Introduction. We are seeking a total of

$323,821.27 in deposition transcript costs. Of the 486 depositions taken over the course of the

litigation, we are seeking costs associated with 127 depositions (or roughly 25%).

IV.      Fees for Witnesses

         Types of fees for witnesses include airfare, hotel, taxis, per diem ($71/day), and $40 per

day of testimony. 2 28 U.S.C. § 1821.

         Exhibit 5 includes a spreadsheet of these types of witness fees, for those witnesses that

are relevant to Anadarko, as set out in the charts above in the Introduction. 3 Exhibits 10A-10G

attach the invoices. We are seeking a total of $62,845.42 in witness fees.

V.       Fees for Exemplification, etc.

         Exhibit 6 includes a spreadsheet for these types of costs. All fees relate to three

contractors: Worldwide, inData, and Avansic. The Magistrate Judge ordered the United States to

pay the bills for each of these contractors. The spreadsheet summarizes the invoices. We are

seeking a total of $834,238.65 in exemplification costs. Details are below.




2
  The United States did not make separate payments for the $40 fees, and therefore there will be no invoices or
checks. However, for the witnesses listed, they are either expert witnesses, or federal government employees. For
federal employees, they were paid their ordinary salaries, which of course far exceed $40 per day. For expert
witnesses, they were paid their hourly rates, which also far exceed $40 per day.
3
  Note that a few witnesses are listed as relevant but no bills are charged. This is simply because we did not locate
the invoices.
                                                           9
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       Avansic: The Magistrate ordered the United States to post the Phase Three trial

transcripts, depositions, expert reports, and exhibits on a public website. Rec. Docs. 13704,

13759. Two Avansic invoices totaling $2,056.25 cover that fee.

       Worldwide. Worldwide provided several services for Phase One and Two, including

standardized exhibit numbering (“TREX stamping”), and preparation of depositions “bundles”

with exhibits, for admission into evidence (“deposition bundling”). See Rec. Doc. 5609 at 6

(Phase 1); Rec. Doc. 9063 at 5 (Phase 2); Rec. Doc. 9924 (Phase 2).

       Where to find the invoices. Regarding Phases One and Two of trial, the Magistrate

ordered the United States to pay for Worldwide’s services by paying the Plaintiffs’ Steering

Committee (“PSC”). The PSC paid Worldwide, then send the invoice to the United States, and

the U.S. paid the PSC. Rec. Doc. 13295. The invoices for the PSC’s bills (which are the

Worldwide bills) are attached. The United States paid ½ of the invoiced amounts.

       How much of the invoiced amount is relevant to Anadarko. The invoices are not detailed

enough to break down the fees by names of individual witness. Therefore, we used the following

methods to estimate the prorated part of the invoice that Anadarko should pay.

       The April-June 2013 invoices are Worldwide invoices for Phase One and Two. The

United States highlighted the portion of work that appeared to relate to Phase Two, and prorated

the invoice based on hours. We did not charge for any Phase One work. For the remaining Phase

Two work, we first identified the deposition “bundles” submitted to Worldwide for processing.

We then identified a ratio of source control to quantification/hybrid bundles based on the list

copied below.




                                                10
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Phase 2 Deposition Bundles Submitted to Worldwide for Processing:

Last, First Name           Track
Allen, Thad                Source Control
Ballard, Adam              Hybrid
Barnett, David             Quantification
Bhalla. Kenneth            Source Control
Bishop, Simon              Quantification
Brannon, Richard           Source Control
Bush, Earnest              Hybrid
Campbell, Patrick          Source Control
Carmichael, Stephen        Quantification
Chu, Steven                Hybrid
Cook, Kevin                Source Control
DeCoste, Bud               Quantification
Domangue, Bryan            Source Control
Emilson, Morten            Quantification
Frazelle, Andrew           Source Control
Gouchnor, Matt             Quantification
Hand, Steve                Source Control
Havstad, Mark              Quantification
Hawyard, Tony              Source Control
Henry, Charlie             Quantification
Herbst, Lars               Source Control
Hill, Trevor               Quantification
Holt, Charles              Quantification
Hunter, Tom                Hybrid
Inglis, Andy               Source Control
Johnson, Denis             Source Control
Knox, Tom                  Quantification
Landry, Mary               Hybrid
LeBlanc, Jason             Quantification
Lehr, Bill                 Quantification
Levitan, Michael           Quantification
Lockett, Timothy           Quantification
Loos, Jamie                Quantification
Lynch, Richard             Quantification
Maclay, Don                Quantification
Mason, Mike                Hybrid
McKay, Lamar               Source Control
McNutt, Marcia             Quantification
McWhorter, David           Hybrid
Patteson, Mark             Source Control
Rainey, David              Source Control
Ratzel, Art                Quantification
Ritchie, Bryan             Quantification
Rohloff, Greg              Source Control
Rygg, Ole                  Quantification

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Saidi, Farah                    Quantification
Saucier, Michael                Source Control
Schulkes, Ruben                 Quantification
Shtepani, Edmond                Quantification
Skripnikova, Galina             Quantification
Sogge, Mark                     Quantification
Suttles, Doug                   Quantification
Thierens, Henry                 Source Control
Tooms, Paul                     Hybrid
Trusler, Martin                 Quantification
Vargo, Richard                  Hybrid
Vaziri, Hans                    Quantification
Vinson, Graham "Pinky" 2011     Quantification
Vinson, Graham "Pinky" 2012     Quantification
Richardson, Nigel               Quantification

We obtained a ratio of 70% for quantification/hybrid witnesses. We applied that ratio to prorate

the Phase Two-related work so as to only charge Anadarko for the quantification/hybrid-related

work from those invoices.

       July-November 2013 are Worldwide Phase Two Invoices that did not include any Phase

One work. For the Phase Two Worldwide invoices, we applied the ratio set forth above (70%) to

indicate the amount of the bill that relates to Anadarko.

       In total, the United States is seeking $505,643.35 from the Worldwide invoices.

       inData provided the same services that World Wide had done, just for Phase Three. The

Magistrate Ordered the United States to pay the fees for inData. Rec. Doc. 13580. For inData,

five invoices are provided, and all relate to Phase Three of Trial.

       How much of the invoiced amount is relevant to Anadarko. As with the Worldwide

invoices, the inData invoices are not detailed enough to break down the fees by names of

individual witness. Therefore, we identified the deposition bundles submitted to inData, and then

determined the ratio of Anadarko-related bundles to the non-Anadarko bundles. The non-

Anadarko bundles are those related solely to issues of BP’s finances and internal corporate

structure. We applied a ratio of 84% to these invoices.
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Phase Three Deposition Bundles Submitted to inData for Processing:

      Last, First            Included in Ratio
      Allen, Thad                    Yes
      Barron, Mace                   Yes
      Beirne, Michael                Yes
      Bodek, Robert                  Yes
      Brown, Douglas                 Yes
      Casey, Drew                    Yes
      Conmy, Robyn                   Yes
      Cross, Iris                    Yes
      Douglas, Margaret              Yes
      Dupree, James                  Yes
      Gwin, Robert                   Yes
      Hanzalik, James                Yes
      Hein, Julia                    Yes
      Heron, Richard                 Yes
      Hewett, Larry                  Yes
      Higgins, Damian                Yes
      Howard, John                   Yes
      Huston, Mark                   Yes
      Kulesa, Frank                  Yes
      Laferriere, Roger              Yes
      Landry, Mary                   Yes
      Lubchenco, Jane                Yes
      Luton, Harry                   Yes
      Lynch, Richard                 Yes
      McCleary, Stephen              Yes
      McNulty, Sarah                 Yes
      Meinhart, Paul                 Yes
      Merten, Amy                    Yes
      Michel, Jacqueline             Yes
      Miller, Mark                   Yes
      Quitzau, Robert (5/25-
                                     Yes
      5/26 2011)
      Quitzau, Robert
                                     Yes
      (11/01-11/02 2012)
      Rainey, David                  Yes
      Rose, Marshall                 Yes
      Saucier, Michael               Yes
      Wardlaw, Kirk                  Yes
      Watson, James                  Yes
      Watson, Nick                   Yes
      Chandler, Paul                 Yes
      Huch, Nicholas                 Yes
      Strife, Stuart                 Yes
      Taylor, Elliott                Yes
      Utsler, Mike                   Yes
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       Hollek, Darrell
                                   Yes
       (6/22/2011)
       Hollek, Darrell
                                   Yes
       (7/17/2014)
       O'Donnell, Alan             Yes
       Austin, Meredith            Yes
       Folse, Laura                Yes
       Bamfield, Nicholas          No
       Bray, Steve                 No
       Bucknall, David             No
       Den Uyl, Bruce              No
       Robertson, Michael          No
       Smith, Brian                No
       Suttles, Douglas            No
       Wilson, Duane               No
       Morrison, Richard           No

In total, the United States is seeking $326,539.05 in inData costs related to Phase Three.


                                                     Respectfully submitted,

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